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 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
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12     Brenda Core,                             Case No.: 2:20-cv-06106-RSWL-PVCx
13                 Plaintiff,                   Hon. Ronald S. W. Lew
14           v.                                 ORDER FOR DISMISSAL WITH
                                                PREJUDICE
15     Northridge Square LP, a California
       Limited Partnership; and Does 1-10,
16                                              Action Filed: July 9, 2020
                                  Defendants.   Trial Date:   Not on Calendar
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                        [PROPOSED] ORDER FOR DISMISSAL WITH PREJUDICE
 Case
  Case2:20-cv-06106-RSWL-PVC
       2:20-cv-06106-RSWL-PVC Document
                               Document21-1 Filed10/14/20
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 1         Pursuant to Fed. R. Civ. P. 41, the Court, having considered the documents before
 2   it, and being fully advised finds as follows:
 3         IT IS ORDERED THAT:
 4         Plaintiff Brenda Core’s (“Plaintiff”) action against Defendant Northridge Square
 5   LP (“Defendants”) is dismissed with prejudice. Each party will be responsible for their
 6   own fees and costs.
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     Dated:   October 14, 2020                           /S/ RONALD S.W. LEW
12                                                      Hon. Ronald S. W. Lew
                                                        United States District Judge
13                                                      Central District of California
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                       [PROPOSED] ORDER FOR DISMISSAL WITH PREJUDICE
